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                  EXHIBIT 1
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   1         Plaintiff Shawn Carter and Defendants Jonathan Mannion and Jonathan
   2 Mannion Photography LLC hereby stipulate as follows:
   3         1.    To avoid consuming the parties’ and the Court’s time and resources
   4 on potential discovery issues relating to experts, the parties agree to the following
   5 limitations on the scope of expert-related discovery in this action. The parties’
   6 agreement to this Stipulation does not imply that any of the information and
   7 materials restricted from discovery in this Stipulation would otherwise be
   8 discoverable.
   9         2.    These categories of data, information, and documents do not need to
  10 be disclosed by any party and are outside the scope of permissible discovery:
  11                      a.     Draft, preliminary, or intermediate materials prepared by
  12               or for an expert, including, without limitation, draft reports, draft
  13               studies, draft declarations or affidavits, draft work papers, and
  14               preliminary or intermediate calculations or computations (but
  15               documents, data, and other information relied on or used to generate
  16               final materials relied on by an expert is discoverable and shall be
  17               produced);
  18                      b.     Communications in any form between an expert, on the
  19               one hand, and the expert’s colleagues or support staff, other expert
  20               witnesses or nontestifying consultants, or attorneys for the party that
  21               retained the expert, on the other hand, unless the expert is relying
  22               upon the communications in connection with the expert’s opinions;
  23                      c.     Notes or other writings taken or prepared by or for an
  24               expert in connection with this action, including, without limitation,
  25               notes of conversations with the expert’s colleagues or support staff,
  26               other expert witnesses or nontestifying consultants, or attorneys for
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                               STIPULATION RE: EXPERT DISCOVERY
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   1               the party that retained the expert (unless the expert is relying upon the
   2               notes in connection with the expert’s opinions); and
   3                      d.     Written engagement letters or agreements to retain an
   4               expert or any person working under the expert’s supervision, invoices
   5               issued in connection with the expert’s retention, and any
   6               communications related to an expert’s retention or fees.
   7         3.    Nothing in this Stipulation shall be construed to limit inquiry into
   8 whether an expert considered or reviewed particular documents, information, or
   9 methods of analysis identified by the examining party or the reasons the expert did
  10 or did not rely on such documents, information, or methods of analysis.
  11         4.    Subpoenas for deposition or documents do not need to and should not
  12 be served on any expert. Instead, the party that retained the expert shall make the
  13 expert available for deposition at a time and place mutually agreeable to the parties
  14 and in accordance with any applicable scheduling order.
  15         5.    Any fees charged by an expert for responding to discovery, including,
  16 without limitation, time spent at depositions, shall be paid by the party that retained
  17 the expert.
  18         IT IS SO STIPULATED.
  19
  20 Dated: December 14, 2021               WILLENKEN LLP
  21
                                            By: /s/ Kenneth M. Trujillo-Jamison
  22                                             Paul J. Loh
  23                                             Lika C. Miyake
                                                 Kenneth M. Trujillo-Jamison
  24
  25                                             ROCKSTONE LEGAL
                                                 Sarah Hsia (pro hac vice)
  26
  27                                             PAUL HASTINGS LLP
                                                 Steven A. Marenberg
  28                                             Attorneys for Defendants
                                                2
                               STIPULATION RE: EXPERT DISCOVERY
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   1
   2 Dated: December 14, 2021          QUINN EMANUEL URQUHART &
                                       SULLIVAN, LLP
   3
   4                                   By: /s/ Robert M. Schwartz
                                            Alex Spiro (pro hac vice)
   5                                        Robert M. Schwartz
   6                                        Dylan C. Bonfigli
                                            Attorneys for Plaintiff
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                          STIPULATION RE: EXPERT DISCOVERY
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   1                           ATTESTATION STATEMENT
   2         I, Kenneth M. Trujillo-Jamison, the filer of this Stipulation, attest under
   3 Civil L.R. 5-4.3.4(a)(2) that all other signatories listed, and on whose behalf the
   4 filing is submitted, concur in the filing’s content and have authorized the filing.
   5
   6 Dated: December 14, 2021               WILLENKEN LLP

   7
   8                                        By: /s/ Kenneth M. Trujillo-Jamison
                                                 Kenneth M. Trujillo-Jamison
   9                                             Attorneys for Defendants
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                             STIPULATION RE: EXPERT DISCOVERY
